
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. &nbsp;2-09-380-CR



RUDOLPH ANTHONY GARZA						APPELLANT

V.

THE STATE OF TEXAS	STATE

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FROM THE 371
ST
 DISTRICT COURT OF TARRANT COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered the “Appellant's Motion To Waive And Dismiss Appeal And To Withdraw Notice Of Appeal.” &nbsp;The motion complies with rule 42.2(a) of the rules of appellate procedure. Tex. R. App. P. 42.2(a). &nbsp;No decision of this court having been delivered before we received this motion, we grant the motion and dismiss the appeal. 
See id.;
 Tex. R. App
. P.
 43.2(f). 



PER CURIAM



PANEL: MCCOY, MEIER, and LIVINGSTON, JJ.



DO NOT PUBLISH

Tex. R. App
. P. 
47.2(b)



DELIVERED: February 4, 2010							

FOOTNOTES
1:See
 
Tex. R. App
. P.
 47.4.




